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IN THE UNITED STATES DISTR,ICT COURT

FOR THE MIDDLE DISTRICT ()F PENNSYLVANIA

1<;'.1=,. n/ida K.S. :
Plaintiff : CIVIL ACTION - REMOVAL
vs. f
No. 5:15~CV-1634
Dover Ai'ea School Distt‘ict, et al.,
Defendants

STIPULA TION OF PLAINTIFF, K.E.
FOR DISMISSAL OF ALL CLAIMS A GAINST MA TTHEWPUTERBA UGH
PURSUANT T 0 RULE 41(a)(1)(A)(ii)

AND NOW, this -§C_‘)`ti‘day of g[m\y{ , 2018, comes defendant, Matthew
Puterbaugh, by his counsel, and Stipulate that ali claims that have been or could have

been asserted in this action are hereby Dismissed with prejudice pursuant to F.R.C.P.

 

  
 
 

 

  

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Respectfu}ly submitted,
Dated:
Dated: By: 99 j /

 

 

/Jose hl:?é@n,]r, Squire
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